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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


GERARD CAMPBELL, individually on behalf of
himself and all others similarly situated,    Case No. 1:16-cv-07176-ILG-PK

             Plaintiffs,                      DEFENDANT DRINK DAILY GREENS,
                                              LLC’S NOTICE OF MOTION TO
                                              SANCTION PLAINTIFF AND HIS
      v.                                      LAWYERS PURSUANT TO FRCP RULE
                                              11
DRINK Daily Greens, LLC, a Delaware limited
liability company,

             Defendant.




                                                               J. Noah Hagey, Esq.
                                                Matthew Borden, Esq. (pro hac vice)
                                                     Amit Rana, Esq. (pro hac vice)
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                                                           Attorneys for Defendant
                                                          Drink Daily Greens, LLC
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       TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE THAT as soon as the matter may be heard in the United

States District Court, Eastern District of New York, located at 225 Cadman Plaza East,

Brooklyn, NY 11201, before the Honorable I. Leo Glasser, Defendant Drink Daily Greens, LLC

will, and hereby does move the Court to sanction Plaintiff Gerard Campbell and his lawyers.

This Motion is based on this Notice of Motion, the accompanying Memorandum of Law, the

Declaration of J. Noah Hagey and all exhibits attached thereto, the Declaration of Shauna

Martin, and on such other written and oral argument as may be presented to the Court.


Dated: November 2, 2018                             Respectfully Submitted,
                                                    BRAUNHAGEY & BORDEN, LLP


                                                     /s/ J. Noah Hagey
                                                    By: J. Noah Hagey

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